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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN


A.B., BY AND THROUGH HIS
PARENTS AND NEXT FRIENDS,
K.B. and R.B., and K.B. and R.B.,
Individually,
                                                 File No. _______________
              Plaintiffs,
                                                 Hon. __________________
v.

MICHIGAN DEPARTMENT OF EDUCATION,

          Defendant.
_____________________________________/

MICHIGAN PROTECTION AND
ADVOCACY SERVICE, INC.
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_____________________________________/


                                COMPLAINT

        NOW COME THE PLAINTIFFS, A.B., through his parents and next

friends, K.B. and R.B, filing this Complaint against the Michigan Department of

Education.
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                             I.     INTRODUCTION

      1.     This case involves special education interventions and resources that

are necessary—on a state level—to educate a child from a rural Michigan village in

the Upper Peninsula who needs intensive supports for challenging behaviors.

Despite two state administrative complaints to the state, requests to the State

Attorney General’s Office, and a due process action against the State, the Michigan

Department of Education refused to supervise, monitor, and intervene. As a result,

A.B. has lost over three years of education. Accordingly, this federal lawsuit is

necessary.

                II.   PARTIES, JURISDICTION AND VENUE

      2.     Plaintiff, A.B., is a minor child, born July 30, 2009, who resides with

his parents, K.B. and R.B. (with A.B., collectively, “Plaintiffs”). They reside within

the Ontonagon Area School District (“the District”), County of Ontonagon, in the

State of Michigan.

      3.     A.B. is covered by the IDEA, 20 U.S.C. §§ 1400 et seq., the ADA, 42

U.S.C. §§ 12131 et seq., Section 504 of the Rehabilitation Act, 29 U.S.C. § 794,

Michigan Mandatory Special Education Act, Mich. Comp. Laws 380.1701 et seq.,

and its regulations (Michigan Administrative Rules of Special Education, Mich.

Admin. Code. R. 340.1701 et seq.). He has an Individualized Education Program

(IEP) providing him “special education,” due to disabilities that include Adjustment


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Disorder with Mixed Disturbance of Emotions and Conduct, Unspecified

Neurodevelopmental Disorder, Attention-Deficit Hyperactivity Disorder, Combined

Type (“ADHD”), Oppositional Defiant Disorder (“ODD”), Unspecified Mood

Disorder, and Anxiety Disorder Unspecified. These disabilities entitle A.B. to

services under the IDEA’s category of Emotional Impairment, 34 C.F.R. §300.8;

MARSE R 340.1706. They are also medical impairments that substantially limit

A.B. in the major life activities of social interaction, interpersonal skills, mood

regulation, socially acceptable behavior, handling transitions, communication,

perception and, of course, learning.

      4.     K.B. and R.B., the parents, are associated with (by direct familial

association) with a person with a disability, A.B., their son, under Section 504 and

the ADA. See 42 U.S.C. §12182.

      5.     The Michigan Department of Education (“MDE”) is a State

Educational Agency (“SEA”) under 20 U.S.C. § 1401(32) (“The term [SEA] means

the State board of education or other agency or officer primarily responsible for the

State supervision of public elementary schools and secondary schools . . . .”). MDE

receives IDEA funding by submitting plans to the Secretary of the U.S. Department

of Education that “provide[] assurances . . . that the State has in effect policies and

procedures to ensure that . . . [a] free appropriate public education is available to all

children with disabilities residing in the State.” 20 U.S.C. § 1412. MDE also


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receives federal assistance and qualifies as a program under 29 U.S.C. § 794. As the

state educational agency, MDE is a public entity subject to Title II of the ADA. 42

U.S.C. § 12131.

      6.     Jurisdiction is conferred upon this Court by Individuals with

Disabilities Education Act (IDEA), 20 U.S.C. §§ 1415(i)(2)(A) and 1415(i)(3)(A),

which provide district courts of the United States with jurisdiction over any action

brought under the IDEA, without regard to the amount in controversy.

      7.     This Court also has jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, based upon the federal question raised herein, and 28 U.S.C. § 1343, because

this action is brought to vindicate Plaintiffs’ civil rights under the IDEA.

Additionally, this Court has jurisdiction pursuant to the Americans with Disabilities

Act, with Amendments, 42 U.S.C. §12101 et seq., and Section 504 of the

Rehabilitation Act, 29 U.S.C. §794.

      8.     This Court has supplemental jurisdiction over the state claims under the

Michigan Mandatory Special Education Act, Mich. Comp. Laws 380.1701 et seq.,

and Michigan Administrative Rules for Special Education, Mich. Admin. Code. R.

340.1701 et seq., pursuant to 28 U.S.C. § 1367(a).

      9.     Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b), as

Plaintiffs reside within the Western District of Michigan and all events and




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omissions giving rise to this Complaint occurred in this district. Additionally,

Defendant is located and/or operates within the Western District of Michigan.

      10.    To the extent that administrative exhaustion is required against the

MDE, Plaintiffs have done so by filing a due process action against MDE on

February 21, 2019. MDE resisted any administrative exhaustion by filing a motion

for summary disposition on June 21, 2019. The administrative law judge granted

that motion on July 26, 2019, thus completing exhaustion. The entire matter was

dismissed by the administrative law judge through an order on October 1, 2019. Any

further exhaustion would be futile or inadequate.

                                    III.   FACTS

      11.    A.B. is an engaging, creative, and caring ten-year-old boy who likes

Legos, art, music, dancing, and math. He loves telling jokes and stories, making

people laugh. He also likes baseball and board games.

      12.    Pertinent to this Complaint, A.B. would love to make friends. But that

requires a combination of thoughtful adult intervention for the unique and

challenging nature of his disabilities, plus the resources to assist him.

      13.    In November 2015, A.B. enrolled in his local school district, in the rural

village of Ontonagon, Michigan, along the south shore of Lake Superior in the Upper

Peninsula. The Ontonagon Area School District (the District) serves fewer than 300




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students. 1 The District placed A.B. on a shortened, four-hour school day beginning

his second day of enrollment. By December, the District had shortened A.B.’s school

day to one hour, 3-5 days a week.

              A.     A.B.’s First State-Level Complaint to MDE

       14.    After experiencing a year of shortened day, A.B. filed an administrative

Complaint against the District with the Defendant, Michigan Department of

Education (MDE), pursuant to 34 C.F.R. 300. 151-53 and MARSE R 340.1851.

(MDE Complaint #1). He complained of a shortened day schedule, lack of positive

behavior supports, and deprivation of a FAPE.

       15.    On December 22, 2016, MDE found A.B.’s District out of compliance,

and that A.B. had been denied a FAPE. In fact, MDE found the District out of

compliance on all issues it investigated. MDE determined that (a) the IEP team had

reviewed and revised the IEP four times, but reduced the student’s school day,

impacting his ability to access a FAPE; (b) the District had failed to consider a

continuum of alternative placements before reducing the school day; and (c) the

District added a clause in A.B.’s behavior intervention plan that would incorrectly

document classroom removals under the IDEA.


1
   The District is A.B.’s home district and as such, is the local education agency (“LEA”)
responsible for providing him with a FAPE and the procedural protections required under the
IDEA.
https://www.mischooldata.org/SpecialEducationEarlyOn2/DataPortraits/DataPortraitsDisability.
aspx

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      16.     As a remedy, MDE required the District to provide, among other

remedies, 30 hours of specialized academic instruction, and 15 hours of behavioral

instruction. It also required the District to seek consent for a Functional Behavior

Assessment by a qualified behavioral specialist, to be followed by a Behavioral

Intervention Plan. It required the District to develop, review, and revise A.B.’s IEP

with consideration of the full continuum of services and to correct previous non-

compliance.

      17.     MDE also ordered the District to work with the Intermediate School

District to develop, review, or revise the District’s written procedures related to (a)

providing a FAPE; (b) revising a student’s IEP, considering the least restrictive

environment; (c) disciplinary removals from instruction, and (d) implementing

special education and related services. MDE required these procedures to be

developed no later than April 1, 2017, with related professional development no later

than August 15, 2017.

      18.     MDE recognized that the District must have appropriately trained

personnel, citing 34 CFR § 300.156(a). However, that obligation actually requires

MDE, as the State Education Agency, “to establish and maintain qualifications to

ensure that personnel necessary to carry out the purposes of this part are

appropriately and adequately prepared and trained, including that those personnel

have the content knowledge and skills to serve children with disabilities.”


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       19.   Despite MDE’s findings, the District retained A.B. on a reduced

instructional day for the entire year of 2016-2017 and, then again, in 2017-2018.

       20.   MDE did not ensure the District complied with its instruction. Rather,

on November 28, 2017, MDE closed the matter with a MDE-OSE, noting its

“Closeout of Findings” as follows:

             August 22, 2017 - 2 New Special Educators attended New
             Teacher Training at the GOISD - IEPs covered and LRE
             Continuum shared and district using at meetings. New Special
             Educators are including GOISD school social worker and
             behavioral consultant in behavior meeting and using the LRE
             Continuum guide in providing FAPE in reviewing progress and
             adjusting inst. and programming when necessary.

             B.     A.B.’s Second State-Level Complaint to MDE

       21.   On January 10, 2018, the District held an IEP meeting and took the

position that “[b]ased on the severity of [A.B.’s] behaviors, the IEP team placed

[A.B] on a 45-day alternative placement. He will be seen at the courthouse by all

service providers to continue working on all of his goals until his return on February

28.”

       22.   The District maintained that A.B.’s “current behaviors do not permit

him to be at school for a longer period of time or participate in the general education




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classroom. The current placement and time are deemed most appropriate.”2 His

educational time was reduced from six hours per week to four hours per week.

       23.    On April 4, 2018, A.B. filed a second administrative complaint with the

Michigan Department of Education (MDE), pursuant to 34 C.F.R. 300. 151-53 and

MARSE R 340.1851. (MDE Complaint #2). However, this Complaint targeted the

MDE, not the District.

       24.    Complaint #2 stated that MDE itself had violated the IDEA because it

failed to supervise and monitor the District, failed to correct the District’s

noncompliance, and allowed a continuing practice of denying A.B. full-day access

to school and a FAPE. The Complaint explained how the “compensatory education”

that the District was supposed to have provided (for the shortened school days) were

being undertaken during the shortened school days, instead of in addition to the

school day.

       25.    MDE had “closed its file” even though A.B.’s FAPE deprivations,

along with the District’s failure to conduct appropriate and necessary evaluations,

including a functional behavior assessment, were ongoing.




2
  Actually, the IEP itself showed that A.B. was compliant 47% of the time, an
increase from the previous year’s 20% compliance rate. His behavior goal, however,
required no physical aggression and compliance with adult requests at 95%
frequency.

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       26.      On June 1, 2018, MDE found itself in violation with respect to MDE

Complaint #2. However, MDE’s finding of non-compliance did not help A.B.

Instead, MDE blamed the District for not submitting paperwork timely. Thus, the

corrective action merely required MDE to ensure timely submission of documents

by districts.

       27.      MDE failed to address the root problem: its own failure to supervise

and monitor a district it had found in non-compliance, resulting in a continuing

exclusion from the general education population and failure to provide a free

appropriate public education for A.B. Nor did MDE provide technical assistance to

the small District of Ontonagon.

       28.      On August 1, 2018, MDE issued another of its “closing” documents,

stating that MDE Complaint #2 had been resolved when, in fact, it had not. On

September 4, 2018, despite two MDE Complaints, the District reduced A.B.’s school

hours to between two and three hours per day (12:30-3:11 or 1:00-3:11, depending

on the day of the week).

                C.    A.B.’s Third Formal Notice to MDE

       29.      After two failed state level administrative complaints, A.B. put the State

on notice a third time. A.B. sought assistance through the Michigan Attorney

General’s office.




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      30.    On September 26, 2018, through the Attorney General’s Office, MDE

pledged that it would visit the District, review student documents, observe the

student, review continuum of services in the ISD, meet with staff, and create an

action plan, if needed. It assigned a State Complaint Coordinator, Marcia O’Brien,

for an on-site visit and other interviews.

      31.    Ms. O’Brien addressed a “reintegration plan” with the District,

addressing how to reintegrate A.B. in school. She outlined a plan and reminded the

District that it must increase A.B.’s school day incrementally, regardless of his

behaviors, while frontloading behavior supports. The plan also identified the District

might “need support from the MDE-OSE Program Finance department to problem

solve financial challenges in supporting all options.”

      32.    On October 29, 2018, Ms. O’Brien provided the family a draft “action

plan” with concrete recommendations for the District to support A.B. This included

noting, specifically, that A.B. had demonstrated the ability to learn in the general

education classroom with supports and that a partial day was not his least restrictive

environment.

      33.      On November 5, 2018, Ms. O’Brien also warned the District not to

reintegrate A.B. without providing additional supports to him. She gave suggestions

of what such supports might look like.




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      34.    A.B. retained an expert consultant, Dr. Lloyd Peterson. On November

28, 2018, Dr. Peterson observed and evaluated A.B.’s behaviors while at the District.

The report was provided to the District on December 14, 2018. Like Ms. O’Brien,

Dr. Peterson concluded that A.B. could be educated in his current school with

appropriate supports (e.g., structured social skills training, scripted Direct

Instruction lessons, and training for staff).

      35.    A.B.’s behavioral challenges continued, and at times spiked.        On

November 30, 2018, a behavior incident ended in A.B.’s refusal to exit a school bus,

resulting in police involvement and a “threat assessment.”        A “manifestation

determination” was held on December 11, 2018, wherein the District found that

A.B.’s behavior was indeed a manifestation of his disability.

      36.    Although A.B.’s behavior was a manifestation of his disability, the

District advised A.B.’s parents, that same day of December 11, 2018, that A.B. could

not come back to school. Instead, he would have to be educated at the local police

station. Predictably, that environment did not calm A.B.’s behaviors and, in January

of 2019, the local police station was rejected as a placement.

      37.    On January 28, 2019, the District began another IEP meeting. This time,

the District proposed placing A.B. at “Teaching Family Homes,” a facility, which is

a child caring institution that typically serves children who are wards of the State,

due to delinquency or abuse/neglect. The facility is two hours removed from A.B.’s


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home in Ontonagon, contrary to the recommendation of A.B.’s psychiatrist, and does

not employ board certified behavior analysts.

       38.    The IEP meeting continued on February 7, 2019, with A.B.’s advocate

suggesting that Teaching Family Homes was too restrictive, considering lesser

supports had not been tried. The District’s superintendent explained that, being a

small and very rural District, it did not have the resources, staff, or levels of expertise

available to help A.B., and that he had been unable to hire staff such as a special

education teacher with training.

      39.    The superintendent emphasized that for A.B. to have a full educational

day, it could not occur in the District and it would be necessary to place him two

hours away at Teaching Family Homes. Following the superintendent’s lead about

lack of resources, the District offered Teaching Family Homes as the placement due

to (a) Lack of available staff; and (b) Lack of structured setting for safety.

      40.    A.B.’s family did not agree with this reasoning, or this placement.

             D.     A.B.’s Fourth Formal Notice to MDE

      41.    On February 21, 2019, A.B. filed a due process complaint naming not

only the District and Intermediate School District, but also MDE. By this point, A.B.

had been denied FAPE for over three years and the District had not received help

from MDE.




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      42.   In the spring of 2019, the District began to consider developing a

regional program for students with emotional impairments. This would serve A.B.

and others. However, according to the District, MDE refused to support this

program, and it was abandoned.

      43.   MDE sought and obtained a dismissal on grounds that jurisdiction was

lacking. As a result, A.B. was again unhelped by MDE.

      44.   After the dismissal, MDE took no further steps to intervene or assist

A.B. Instead, it watched a rural village—Ontonagon Area School District—defend

against a child with special needs, A.B., who desperately needed an appropriate

education, placement, and supports. This illustrates how MDE has a “hands off”

approach to remedies—despite two state complaints in which noncompliance was

established, recommendations by its own investigator, and a due process notice,

MDE provided A.B. with no relief at all.

            E.     MDE Did Not Assist the District Either

      45.   On August 16, 2019, A.B. reached a settlement with the District,

closely evaluating the District’s systemic concerns. Not only had A.B. been seeking

help from MDE, but so, too, had the District. The District noted, as part of the

settlement agreement that it “sought assistance from Michigan Department of

Education on how to provide a free appropriate public education” to A.B.




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      46.     According to the District, again in writing, the Michigan Department of

Education “knowingly failed to provide consistent or meaningful assistance.”

(emphasis added).

      47.     The District explained, again in writing, that it has “concerns about the

state-wide funding disparities and deficits related to special education

programming.” The small school district of Ontonagon did not have “adequate

funding to provide appropriate services to students with intensive behavioral needs”

like A.B. Settlement Agreement September 27, 2019.

      48.     Accordingly, A.B. carved out liability for MDE as part of the

settlement, particularly since these are systemic issues relating to funding and

infrastructure for intensive behavioral needs, and A.B. has not been compensated for

the loss of a free appropriate public education for the past three years, he has not

received a complete remedy, and the District lacks the funding, training, and

resources to do so.

      49.     On October 1, 2019, the ALJ approved and adopted the terms of the

settlement.

      50.     In summary, from Fall 2016 through Spring 2019, A.B. filed two

substantiated state complaints with MDE, brought concerns to MDE, resulting in a

return visit from an MDE investigator, heard from the District that it lacked the

resources to assist A.B., and filed a due process complaint against MDE. None of it


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motivated MDE to provide relief, training, enforcement, or supervision. Thus, there

is overwhelming notice to MDE that it has failed in its monitoring and supervision

and direct-action responsibilities to A.B. Its actions are knowing and/or deliberately

indifferent to A.B.’s educational rights.

      51.    As a result, A.B. has lost so much educational time that compensatory

education can only partially remedy his deprivation, if at all; instead, damages for

the MDE’s deliberate indifference to his educational deprivation are necessary.

      52.    A.B. has suffered humiliation and embarrassment due to disabilities

over which he lacks control. The adults have failed to provide him the necessary

supports and structure and education, affecting his self-esteem and well-being.

Similarly, A.B.’s parents have been bystanders—family associations—watching

their son struggle mightily, suffering pain and humiliation themselves.

                              IV.   LEGAL CLAIMS

      53.    The foregoing paragraphs are incorporated.

                                             A.

                                     Count I. – IDEA

      54.    Under the IDEA, MDE repeatedly failed in its monitoring and

supervising obligations. 20 U.S.C. § 1412(a), 1416; 34 C.F.R. §§ 300.120, 149(a),

600-602, 606-608.




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      55.    It failed to ensure the District had qualified personnel able to provide

FAPE in the LRE to A.B. 20 U.S.C. § 1412(a)(5); 34 C.F.R. § 300.156.

      56.    It failed to provide adequate funding to the District to provide FAPE in

the LRE to A.B. 34 C.F.R. § 300.114(b).

      57.    It failed to provide technical assistance that would allow the District to

provide FAPE in the LRE to A.B. 34 C.F.R. § 300.119.

      58.    It failed to provide adequate training to the District about FAPE in the

LRE. Id.

      59.    It failed to enforce the IDEA when put on notice of A.B.’s denial of

FAPE in the LRE. 20 U.S.C. § 1413(g); 34 C.F.R. § 300.151.

      60.    It failed to assist in implementing corrective action when it found that

A.B. was being denied FAPE in the LRE. 34 C.F.R. § 300.151.

      61.    It failed to provide FAPE directly to A.B. when the District was unable

or unwilling to do so. 20 U.S.C. § 1413(g)(1)-(2).

      62.    MDE failed in its ultimate responsibility to ensure that A.B. received a

FAPE in his LRE with appropriate supports and services, choosing instead to blame

a rural school District that lacked the infrastructure and support necessary to do so.

20 U.S.C. § 1412(a)(11)(A).




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                                           B.

                          Count II. – Section 504 and the ADA

      63.    Under Section 504 and the ADA, MDE failed to intervene on behalf of

a district denying a child an adequate education commensurate with his non-disabled

peers. As a result of the MDE’s failure to supervise the District, failure to ensure

trained staff, and failure to provide appropriate funding to the District, the District

engaged in discrimination against A.B. A.B. was excluded and segregated in

violation of Section 504 and the integration mandate of the ADA. See 29 U.S.C. §

794; 42 U.S.C. §§ 12101, 12132; 45 C.F.R. § 84.3-84.4; 28 C.F.R. § 35; 34 C.F.R.

§ 104.4(b)(1)(v).

      64.    Defendant has intentionally discriminated against A.B. and his parents

in violation of Section 504 by failing to provide a FAPE in the least restrictive

environment. 34 C.F.R § 104.33-34.

      65.    As a direct and proximate cause of Defendant’s violation of Section

504, A.B. and his parents have suffered and continue to suffer mental and emotional

suffering, humiliation, stigma, and other injuries. 29 U.S.C. § 794.

      66.    Defendant intentionally violated A.B.’s rights under the ADA and the

regulations promulgated hereunder by denying him access to equal educational

opportunities afforded to students without disabilities, by excluding him from




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participation in and denying him the benefits of Defendant’s services, programs, and

activities, and by subjecting him to discrimination. 42 U.S.C. § 12132.

      67.    As a direct and proximate cause of MDE’s violation of the ADA, A. B.

and his parents have suffered and continue to suffer mental and emotional suffering,

humiliation, stigma, and other injuries. 42 U.S.C. § 12132, 12182.

                                           C.

                           Count III – MMSEA and MARSE

      68.    Under Michigan Administrative Rules for Special Education

(“MARSE”), Mich. Admin. Code R. 340.1700 et seq., Defendant failed to maintain

an effective complaint resolution process, resulting in the continued denial of FAPE

for A.B.

      69.    When the District continued to deny A.B. a FAPE and restricted A.B.’s

individualized education program to the programs and services available, in

violation of MARSE, Defendant failed to bring the District into compliance or utilize

its sanction power, violating MARSE.

                               V. REQUESTED RELIEF

      Plaintiffs respectfully request that this Court:

      1.     Issue a declaratory Judgment on behalf of Plaintiffs declaring the

             actions, policies, and practices as alleged herein violate the IDEA;

             Section 504; Title II of ADA; and MARSE.


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    2.    Issue a permanent injunction directing MDE to implement appropriate

          policies, procedures and protocols to remedy the failures alleged herein

          with respect to A.B;

    3.    Issue a final Order and Judgement awarding:

          a.      Equitable relief and compensatory education or compensatory

                  education fund given the length of deprivation;

          b.      Reimbursement for all out of pocket expenses and services;

          c.      Compensatory related services and transition services as needed;

          d.      Compensatory Damages to A.B. in a supplemental needs trust

                  for:

                 i.      Exclusion due to segregation, loss of friendship and

                         society of typical peers and isolation in the amount of

                         $1,000 per school day for the entire period of the

                         educational loss until such time as the exclusion is cured.

                ii.      Loss of general education time/exclusion from activities

                         and curricula due to A.B.’s disability in the amount of

                         $1,000.00 per school day for the entire period of the

                         educational loss; and

               iii.      A sum to represent emotional distress damages and pain

                         and suffering.


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          e.     Ordering compensatory relief to the parents for their emotional

                 distress damages and pain and suffering;

          f.     Ordering an extension of A.B.’s eligibility for general and

                 special education instruction for at least three years beyond

                 applicable statutes; and

          g.     Appoint an independent monitor or ombudsperson to oversee

                 and administer the compensatory education award.

    4.    Implement a state-wide, pro-active enforcement protocol for ensuring

          compliance with corrective action plans that includes, but is not limited

          to, a determination of whether the corrective action plan has resulted in

          providing an educational program more “reasonably calculated to

          enable a child to make progress appropriate in light of the child’s

          circumstances,” Endrew F., 137 S.Ct. 988, 999 (2017);

    5.    Hire and/or allocate the appropriate number of staff to ensure that

          corrective action plans are enforced and result in the correction of

          identified noncompliance;

    6.    Engage in pro-active monitoring, including substantive review of the

          facts and follow-up with parents to review the child’s current

          circumstances, to ensure continued compliance with federal and state

          law;


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     7.    Order MDE to exercise its authority under MARSE R. 340.1855;

     8.    Provide funding to the local school district, as needed, to comply with

           this order;

     9.    Award Plaintiffs their costs and reasonable attorneys’ fees; and

     10.   Order any other and further relief, both legal and equitable, that this

           Court may deem just and proper.



Dated: December 19, 2019                          /s/ Erin H. Diaz
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